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 8
                              UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
                                    SAN JOSE DIVISION
10
                                                                      *E-FILED - 9/18/06*
11

12   UNITED STATES OF AMERICA,           )            Case No. CR-06-00054-RMW
                                         )
13          Plaintiff,                   )
14
                                         )            STIPULATION REQUESTING
     v.                                  )            CONTINUANCE OF SENTENCING
15                                       )            HEARING AND ORDER
     MATTHEW FONG,                       )
16       a/k/a cyber,                    )
17
         a/k/a cyber3r,                  )
         a/k/a 1329,                     )
18                                       )
            Defendant.                   )
19
     ____________________________________)
20

21          It is hereby stipulated and agreed between defendant MATTHEW FONG, through his

22   undersigned counsel of record, and the United States, through Assistant United States Attorney

23   Mark L. Krotoski, as follows:

24          1. This matter is currently set for a sentencing hearing on September 25, 2006 at 9:00

25   a.m.

26
            2. Unfortunately, due to Mr. Fong’s court authorized summer study period abroad, his

27   interview with the United States Probation was unable to be conducted until August 10, 2006.
28




     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
     CASE NO. CR 06-0054-RMW
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1    Therefore, additional time is needed in order for the Presentence Report to be completed and
 2
     disclosed as required.
 3
            3. Based upon the foregoing, the parties agree that the Defendant’s sentencing should
 4

 5   be reset to October 23, 2006.

 6          4. United States Probation Officer Lynn Richards has been advised and does not
 7
     oppose this request.
 8
            For the foregoing reasons, and that the ends of justice are served by continuing this
 9
     case, the parties stipulate and request to a continuance of the sentencing hearing from
10

11   September 25, 2006 to October 23, 2006, or the next available date.

12          IT IS SO STIPULATED.
13
     Dated: August ___, 2006                            KEVIN V. RYAN
14                                                      United States Attorney

15
                                                        __________________________________
16
                                                        MARK L. KROTOSKI
17                                                      Assistant United States Attorney

18   Dated: August 30, 2006
19
                                                        ___/s/_____________________________
20                                                      PETER S. HELLER
                                                        Attorney for Defendant FONG
21

22
            IT IS SO ORDERED.

23          Upon good cause shown, the sentencing hearing is continued from September 25, 2006
24                                        9:00 a.m.
     at 9:00 a.m. to October 23, 2006 at _______________.
25
                              18 2006
            Dated: September ____,
26
                                                         /s/ Ronald M. Whyte
                                                        __________________________________
27
                                                        RONALD M. WHYTE
28                                                      United States District Court Judge



     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
     CASE NO. CR 06-0054-RMW
